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                                                             Minimum Mandatory YES
                                                                  Rule35/5K1.1 NO
                                                                 Appeal Waiver YES
                                                                         Other YES




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                     BRUNSWICK DIVISION


UNITED STATES OF AMERICA

V.                                                  2:18 CR 43


FREDDIE SHAW JR.


                            SUMMARY OF PLEA AGREEMENT

DEFENSE COUNSEL:


Marvin Paul Hicks, III

STATUTES CHARGED:

Count 1-18 U.S.C. §922(g)- Possession of a Firearm by a Prohibited Person

Count 2-- 18 U.S.C. §924(c)- Possession of a Firearm in Furtherance of a Drug
Trafficking Crime

Count 3—21 U.S.C. §841 -Possession with Intent to Distribute Marijuana

COUNT PLEADING TO:


Count 1-18 U.S.C. §922(g)-Possession of a Firearm by a Prohibited Person

STATUTORY PENALTIES:


COUNT 1: Pursuant to U.S.C. 924(e):
Imprisonment of not more than life and NOT LESS than 15 years;
Fine of not more than $250,000;
Supervised release term of not more than 5 years;
Forfeiture of all forfeitable assets;
$100 special assessment.




*@ther-FOIA and Fed. R. Crim. P. II(f) waivers;
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ELEMENTS OF THE OFFENSE:

COUNT 1:


First:         The defendant knowingly possessed a firearm in or affecting
               commerce; and

Second:        That before the defendant possessed a firearm, the defendant had been
               convicted in a court of a crime punishable by imprisonment for a term
               in excess of one year, that is a felony offense.

TERMS OF PLEA AGREEMENT:

  • Defendant will plead guilty to Count 1 of the Indictment.

  • The government will not object to a recommendation by the U.S. Probation
    Office that Defendant receive an appropriate reduction in offense level for
    acceptance of responsibility pursuant to Section 3E1.1(a) of the Sentencing
    Guidelines, and, if Defendant's offense level is 16 or greater prior to any
    reduction for acceptance of responsibility, the government will move for an
         additional one-level reduction in offense level pursuant to Section 3E1.1(b).

  • Defendant agrees to forfeit his interest in the property listed in the Indictment
    and plea agreement and agrees to sign a Consent Order of Forfeiture.

  • At sentencing, the government wiU move to dismiss any other Counts of the
    Indictment that remain pending against Defendant.

  • Defendant waives his right to appeal on any ground,(including any argument
    that the statute to which the defendant is pleading guilty is unconstitutional
    or that the admitted conduct does not fall within the scope of the statute) with
    only three exceptions: he may appeal his sentence if(1)that sentence exceeds
    the statutory maximum, (2) that sentence exceeds the advisory Guidelines
    range determined by this Court at sentencing, or (3)the government appeals.
    By signing the plea agreement. Defendant expHcitly instructs his attorney not
    to file an appeal unless one of the three exceptions is met.

  • Defendant entirely waives his right to collaterally attack his conviction and
    sentence on any ground and by any method, including but not hmited to a 28
    U.S.C. § 2255 motion. The only exception is that Defendant may collaterally
         attack his conviction and sentence based on a claim of ineffective assistance of
         counsel.
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  Defendant waives all rights to request information about the investigation and
  prosecution of his case under the Freedom of Information Act or the Privacy
  Act.


  Defendant waives the protections of Rule llffi ofthe Federal Rules of Criminal
  Procedure and Rule 410 of the Federal Rules of Evidence. If the Court accepts
  this plea agreement and Defendant then fails to plead guilty, or later
  withdraws his guilty plea, all statements made by him in connection with that
  plea, and any leads derived therefrom, shall be admissible for any and all
  purposes.


  The government agrees not to file a 21 U.S.C. section 851 enhancement against
  Defendant.
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


UNITED STATES OF AMERICA


V.                                                    2:18 CR 43


FREDDIE SHAW JR.


                               PLEA AGREEMENT


       Defendant Freddie Shaw Jr., represented by his counsel Marvin Paul Hicks,

III, and the United States of America, represented by Assistant United States

Attorney Jennifer Kirkland, have reached a plea agreement in this case. The terms

and conditions of that agreement are as follows.

1.     Guiltv Plea

       Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges a violation of 18 U.S.C. § 922(g)(1).

2.     Elements and Factual Basis


       The elements necessary to prove the offense charged in Count One are (1)that

Defendant knowingly possessed a firearm in or affecting commerce; and (2) that,

before possessing the firearm, Defendant had been convicted of a felony, that is, a

crime punishable by imprisonment for more than one year.

       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

On or about July 21, 2018 in Glynn County, within the Southern District of Georgia,

the defendant, FREDDIE SHAW JR., who before that time had been convicted of a
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felony offense, an offense punishable by imprisonment for a term exceeding one year,

did unlawfully and knowingly possess in and affecting commerce, a firearm, that is a

Hi-Point Model C 9,9mm pistol, which had previously been transported in interstate

commerce, in violation of Title 18, United States Code, Section 922(g)(1).

3.     Possible Sentence


       Defendant's guilty plea will subject him to the following maximum possible

penalties: Not more than ten years imprisonment; a fine of not more than $250,000;

and not more than three years supervised release with a $100 special assessment.

But if the defendant is found to have three previous convictions for a violent felony

or serious drug offense, or both, committed on occasions different from one another

pursuant 924(e): Defendant's guilty plea will subject him to a mandatory minimum

penalty of 15 years imprisonment and maximum of hfe imprisonment; a $250,000

fine and such restitution as may be ordered by the Court. The Court additionally is

obliged to impose a $100 special assessment.

4.     No Promised Sentence


       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.




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5.     Court's Use of Guidelines


       The Court is obligated to use the United States Sentencing Guidehnes to

calculate the applicable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidehnes are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § IB 1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.    Use of Information


       The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines

range.


       b.    Acceptance of Responsibilitv


       The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibihty, the government will

move for an additional one-level reduction in offense level pursuant to Section




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3E 1.1(b) based on Defendant's timely notij&cation of his intention to enter a guilty

plea.

7.      Financial Obligations and Agreements

              a.     Special Assessment


        Defendant agrees to pay a special assessment in the amount of$100.00 payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

              b.     Reouired Financial Disclosures

        Not later than 30 days after the entry of his guilty plea, Defendant shall

provide to the United States, under penalty of perjury, a financial disclosure form

listing all his assets and financial interests, whether held directly or indirectly, solely

or jointly, in his name or in the name of another. The United States is authorized to

run credit reports on Defendant and to share the contents of the reports with the

Court and U.S. Probation.

        c.    Forfeiture

        The Defendant agrees to forfeit his interest in a Hi-Point Model C 9,9mm pistol

and related ammunition.

        Defendant states that he is the sole and rightful owner ofthe Subject Property,

that, to the best of his knowledge, no other person or entity has any interest in the

Subject Property, and that he has not transferred, conveyed, or encumbered his

interest in the Subject Property. Defendant agrees to take all steps requested by the

United States to facilitate transfer of title of the Subject Property to the United


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States, including but not limited to the signing of a consent order or decree, a

stipulation of facts regarding the transfer and basis for the forfeiture, and any other

documents necessary to effectuate such transfer. Defendant further agrees not to file

any claim, answer, or petition for remission or mitigation in any administrative or

judicial proceeding pertaining to the Subject Property. If any such a document has

already been filed, Defendant hereby withdraws that fihng.

      Defendant waives and abandons all right, title, and interest in the Subject

Property. In addition, Defendant waives and abandons his interest in any other

property that may have been seized in connection with this case.

      Defendant agrees to hold the United States and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture, or disposal

of property connected to this case. Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment. Defendant

acknowledges that he understands that the forfeiture of assets is part of the sentence

that may be imposed in this case and waives any failure by the Court to advise him

of this pursuant to Rule ll(b)(l)(J), at the time his guilty plea is accepted.

      Defendant agrees to waive any and all constitutional, statutory, and equitable

challenges on any grounds to the seizure, forfeiture, and disposal of any property

seized in this case. Defendant specifically agrees to waive any claims, defenses or




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challenges arising under the Double Jeopardy Clause of the Fifth Amendment and

the Excessive Fines Clause of the Eighth Amendment,

d.      Financial Examination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe


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Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.



8.      Waivers


        a.    Waiver of Anneal


        Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to iBle an appeal.

        b.    Waiver of Collateral Attack

        Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

        c.    FOIA and Privacv Act Waiver




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        Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C.§ 552a, and all subsequent amendments thereto,

        d.    Fed. R. Grim. P. 11(f) and Fed. R. Evid. 410 Waiver

        Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shaU be admissible for

any and all purposes.

9.      Defendant's Rights


        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.




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10.   Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

11.   Breach of Plea Agreement


      If Defendant breaches the plea agreement, withdraws his guilty plea, or

attempts to withdraw his guilty plea, or commits another state, local or federal

offense, the government is released from any agreement herein regarding the

calculation of the advisory Sentencing Guidelines or the appropriate sentence. In

addition, the government may (1) declare the plea agreement null and void, (2)

reinstate any counts that may have been dismissed pursuant to the plea agreement,

and/or(3)file new charges against Defendant that might otherwise be barred by this

plea agreement. Defendant waives any statute-of-limitations or speedy trial defense

to prosecutions reinstated or commenced under this paragraph.




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12.    Entire Agreement


       This agreement contains the entire agreement between the government and

Defendant.
                                                      7
                                     BOBW. A.. CHRrSTINE
                                            .STATES ATTORNEY
                                                  I




Date                                 orian T. Rafferty
                                     Chief, Criminal Division



loj"^                               CUa/'/'A^
Date                            I    /Jennifer iQryiam
                                     New York Bar No. 4838611
                                     Assistant United States Attorney




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        I have read and carefully reviewed this agi'eement with my attorne3^ I

understand each px'ovision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




 late                                    Treddie Shaw Jr
                                         Defendant



        I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully

and completely understands it, and that his decision to enter into this agreement is

an informed, intelligent, and voluntary one.



iO[U\\1>
Date                                     Marvin Paul Hicks, III
                                         Defendant's Attorney




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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


UNITED STATES OF AMERICA


V.                                                   2:18 CR 43


FREDDIE SHAW JR.


                                      ORDER


        The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

        ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



              This        day of                      2018.




                                   ^I^K^RABLE LISA GODBEY WOOD
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
